Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 1 of 7 PageID 364
Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 2 of 7 PageID 365
Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 3 of 7 PageID 366
Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 4 of 7 PageID 367
Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 5 of 7 PageID 368
Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 6 of 7 PageID 369
Case 8:13-cr-00229-JSM-MAP Document 138 Filed 02/20/14 Page 7 of 7 PageID 370
